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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


THE WAVE STUDIO, LLC,


           Plaintiff,
                                         Case No. 7:13cv-09239-CS-PED
     V.

GENERAL HOTEL MANAGEMENT LTD.,
ABOUT, INC., AGIP LLC, AGODA
COMPANY PTE. LTD., AIR CANADA,
ALLIANCE RESERVATION NETWORK,
AMERICAN AIRLINES, INC., AMERICAN
EXPRESS COMPANY, AOL INC.,
BOOKING.COM BV, BOOKING HOLDINGS
INC., BOOKING.COM USA INC.,
BOOKIT.COM, INC., BRITISH AIRWAYS
PLC, CATHAY PACIFIC AIRWAYS LTD.,
CHARLES KESSLER & ASSOCIATES, INC.,
CITIBANK N.A., DELTA AIRLINES, INC.,
DESPEGAR.COM CORP., DESPEGAR.COM
USA, INC., EMERGING TRAVEL, INC.,
RATE HAWK, ZEN HOTELS, EXPEDIA,
INC., FAREBUZZ, FAREPORTAL, INC.,
FROMMER MEDIA LLC, FROSCH
INTERNATIONAL TRAVEL, INC.,
GETAROOM.COM, GOGOBOT, INC.,
GROUPON, INC., HOTELS COMBINED
LLC, HOTELS.COM GP LLC,
HOTELSBYME, JETBLUE AIRWAYS
CORPORATION, JOE MAZZARELLA,
KAYAK SOFTWARE CORPORATION,
LEXYL TRAVEL TECHNOLOGIES,
LONELY PLANET GLOBAL, INC.,
MAKEMYTRIP.COM, INC., METRO
TRAVEL GUIDE, MOMONDO A/S,
NETADVANTAGE.COM, ORBITZ
WORLDWIDE, LLC, PEGASUS
SOLUTIONS, INC., PRICELINE.COM LLC,
QATAR AIRWAYS Q.C.S.C., RANDOM
HOUSE, RESERVATION COUNTER,
ROCKET TRAVEL, INC., SETAI OWNERS
LLC, SIGNATURE TRAVEL NETWORK,
SKYSCANNER LTD., SOUTHWEST
AIRLINES CO., SWISS INTERNATIONAL
AIR LINES LTD, TABLET INC., THIS EXIT,
LLC, TRAVELOCITY.COM LP,
TRAVELZOO INC., TRAVIX TRAVEL USA
INC., TRIPADVISOR LLC, TRIP.COM
GROUP LIMITED, TRIP.COM TRAVEL
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SINGAPORE PTE. LTD., TRIVAGO N.V.,
TRIVAGO SERVICES US, LLC, UNITED
AIRLINES, INC., UNITED AIRLINES, INC.,
SUCCESSOR-IN-INTEREST TO
CONTINENTAL AIRLINES, INC.,
VACATIONS BY TZELL, VFM LEONARDO,
INC., VISA, INC.,


               Defendants.



                                  NOTICE OF APPEARANCE
       Notice is hereby given that the undersigned attorney, Sapna Palla of Allen & Overy LLP,

enters her appearance in the above-captioned matter for Defendant Qatar Airways Q.C.S.C. and

requests that all notices, pleadings, and orders entered in this matter to be sent to the

undersigned.


  Date: February 21, 2024                  ALLEN & OVERY LLP

                                           By: /s/ Sapna Palla                   ____
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                                           COUNSEL FOR QATAR AIRWAYS Q.C.S.C.
